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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, et
 al.,
                                             Case No. 1:20-cv-03010-APM
 Plaintiffs,
                                             HON. AMIT P. MEHTA
 v.

 GOOGLE, LLC,

 Defendant.



                                       ORDER
      AND NOW, this ___ day of April, 2024, it is hereby ORDERED that the Notice
of Withdrawal of Appearance of Ryan Frasher as counsel for the State of Indiana is
Granted and the appearance is WITHDRAWN. Counsel are reminded that as long
as other counsel remain of record for a party, withdrawal may be effected by filing a
notice and leave of court is not required.

      It is so ORDERED.

                                        BY THE COURT:

                                        _______________________
                                        HON. AMIT P. MEHTA
                                        UNITED STATES DISTRICT JUDGE

                                        DATED:
